        Case 1:13-cv-00075-SGB Document 43 Filed 05/16/14 Page 1 of 2




      In the United States Court of Federal Claims
                                    No. 13-075C
                               (Filed May 16, 2014)
                             NOT FOR PUBLICATION


* * * * * * * * * * * * * * * * * *
                                  *
PARICHEHR FARZAM,                 *
                                  *
                 Plaintiff,       *
                                  *
           v.                     *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *


                                      ORDER

       Because this case is brought pursuant to the Equal Pay Act, 29 U.S.C.
§ 209(d), it will involve personnel records which are protected by the Privacy Act, 5
U.S.C. § 552a. Pending before the Court is defendant’s Motion for a Privacy Act
Protective Order to guard the confidentiality of any payroll or human resources
materials relating to plaintiff and to the comparators identified by her. As
discussed during yesterday’s hearing, the Court is concerned by certain features of
the protective order proposed by the government. In particular, there does not seem
to be any warrant for imposing different standards on plaintiff and on government
employees regarding access to and use of protected information.

       While paragraph 4 of the proposed protective order would prevent plaintiff
from having access to the records concerning the identified comparators, these
records --- as well as those pertaining to her --- could be shared with other
“employees of the United States government who have a need to know the protected
information for the defense or prosecution of this case” under defendant’s proposed
sub-paragraph 4(d). Since proposed sub-paragraphs 4(b), 4(c), and 4(e) provide for
access to counsel and individuals assisting counsel, proposed sub-paragraph 4(d)
appears to be designed to give access to decision makers and party representatives
of the government agency which employs plaintiff. The Court is not aware of any
        Case 1:13-cv-00075-SGB Document 43 Filed 05/16/14 Page 2 of 2



basis for treating the defendant more favorably than plaintiff in this regard, and
therefore cannot accept proposed sub-paragraph 4(d).

       The Court also modifies proposed paragraphs 5 and 8 to make it clear that
the same requirements and procedures for obtaining court approval prior to the
disclosure of protected information to third parties, or the use of protected
information in open court, apply equally to both parties. Finally, the reference to
the comparators selected by plaintiff is changed from “alleged male comparators” to
“identified male comparators.”

        The defendant’s motion for a protective order is accordingly GRANTED-IN-
PART and DENIED-IN-PART. The approved protective order --- adapted from
defendant’s proposed order as described above --- will issue separately. As
discussed during yesterday’s hearing, the parties’ counsel will confer and attempt to
agree to additional language, to amend the protective order (with Court approval),
detailing the procedures to be followed to allow information from protected records
to be shared with plaintiff or other government employees involved in this
litigation.

IT IS SO ORDERED.

                                       s/ Victor J. Wolski

                                       VICTOR J. WOLSKI
                                       Judge




                                         -2-
